                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT


 EPIC REFERENCE LABS, INC.,
 BIOHEALTH MEDICAL                                       Case No. 3:19-CV-1326-SRU
 LABORATORY, INC. and
 PB LABORATORIES, LLC,                                   Hon. Stefan R. Underhill

                Plaintiffs,

                v.

 CIGNA HEALTH AND LIFE
 INSURANCE COMPANY and
 CONNECTICUT GENERAL LIFE
 INSURANCE COMPANY,

                Defendants.

                  FIRST AMENDED COMPLAINT AND JURY DEMAND

       Plaintiffs Epic Reference Labs, Inc., BioHealth Medical Laboratory, Inc. and PB

Laboratories, LLC (collectively the “Laboratories”) file this First Amended Complaint and Jury

Demand against Defendants Cigna Health and Life Insurance Company and Connecticut General

Life Insurance Company (collectively, “Cigna”) and state the following good cause in support:

                                       Nature of the Action

       1.      This is an action for damages pursuant to Florida law, including Sections 627.6131,

627.638, 627.64194, 627.662, and, to the extent applicable, 641.3154 and 641.3155 of the Florida

Statutes, together with Florida common law, as set forth in greater detail below.

       2.      Plaintiffs do not bring any claims pursuant to ERISA or any other federal statute,

and expressly disclaim any such claims and causes of action. Plaintiffs seek relief herein solely as

to payment claims for which they lack ERISA standing and have no ERISA remedy because they
lack any valid assignment of benefits that would entitle them to assert a claim for relief under

ERISA. This lawsuit therefore solely concerns non-ERISA claims and causes of action.

                                               Parties

       3.      Plaintiff Epic Reference Labs, Inc. is a Florida corporation with its principal place

of business at 400 South Australian Avenue, West Palm Beach, FL 33401.

       4.      Plaintiff BioHealth Medical Laboratory, Inc. is a Florida corporation with its

principal place of business at 400 South Australian Avenue, West Palm Beach, FL 33401.

       5.      Plaintiff PB Laboratories, LLC is a single-member Florida limited liability

company with a business address of 400 South Australian Avenue, West Palm Beach, FL 33401.

The sole member of PB Laboratories, LLC is Medytox Diagnostics, Inc., which is a Florida

corporation with its principal place of business at 400 South Australian Avenue, West Palm Beach,

FL 33401.

       6.      No Plaintiff is a citizen of, or maintains a principal place of business in, the State

of Connecticut.

       7.      Defendant Cigna Health and Life Insurance Company is a Connecticut corporation

with its corporate headquarters, principal place of business and nerve center located in this judicial

district at 900 Cottage Grove Road, Bloomfield, Hartford County, Connecticut 06002. Cigna

Health and Life Insurance Company is an operating subsidiary of Cigna Corporation, which

insures and administers individual, family and group health insurance and health benefit plans.

       8.      Defendant Connecticut General Life Insurance Company is a Connecticut

corporation with its corporate headquarters, principal place of business and nerve center located

in this judicial district at 900 Cottage Grove Road, Bloomfield, Hartford County, Connecticut




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06002. Connecticut General Life Insurance Company is an operating subsidiary of Cigna

Corporation which insures and administers group health insurance and health benefit plans.

                                      Jurisdiction and Venue

       9.      This Court has original diversity jurisdiction pursuant to 28 U.S.C. § 1332(a) as

this is an action between Florida plaintiffs and Connecticut defendants with an amount in

controversy exceeding $75,000.

       10.     Venue in this Court is proper pursuant to 28 U.S.C. § 1391(b)(1) because the

Defendants are incorporated in Connecticut and maintain their headquarters in this judicial district.

                                        General Allegations

A.     Plaintiffs Provide Medical Testing and Laboratory Services

       11.     The Laboratories provide medical testing services, including diagnostic medical

testing of patient blood and urine samples, pursuant to the specific orders and instructions of

licensed medical professionals. It is such licensed medical professionals, and not the Laboratories,

who determine medical necessity and select and prescribe appropriate and necessary testing.

       12.     Upon performing the required testing pursuant to the specific orders and

instructions of licensed medical professionals and reporting the results to the treating medical

professional, the Laboratories issue invoices to receive payment for their services. If the patient is

a subscriber or beneficiary of a health insurance policy, such as those issued by Defendants herein,

the Laboratories issue invoices to insurers for payment of covered services.

B.     Defendants Failed to Pay for Services Rendered

       13.     Since at least 2012, the Laboratories provided testing services to individual patients

who are subscribers or beneficiaries of commercial, non-Medicare health plans insured or

administered by Defendants.




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        14.     As a regular part of their intake procedure, the Laboratories would confirm with

Defendants the existence of coverage before providing the testing services ordered by a medical

professional.

        15.     The Laboratories would then provide the specified testing services and, thereafter,

direct their invoices for such services to Defendants for payment.

        16.     Apart from the specific payment defaults giving rise to this lawsuit, Defendants

generally accepted responsibility for and paid the Laboratories’ invoices for testing services

provided to Defendants’ subscribers and beneficiaries.

        17.     In particular, during the period from 2012 through 2017, Defendants actually paid

to the Laboratories at least $37,687,349.18 on account of invoices for testing services provided to

Defendants’ subscribers and beneficiaries.

        18.     Despite these payments, in other instances Defendants failed to pay the

Laboratories’ invoices for testing services provided to Defendants’ subscribers and beneficiaries.

        19.     In particular, during the years 2013 through today, Defendants failed to pay

invoices of at least $32,074,089.37, all of which remains due, owing and payable to the

Laboratories (plus interest).

        20.     In many instances, Defendants failed to respond to the invoices in any fashion. As

a result of Defendants’ failure to respond, Defendants incurred an uncontestable obligation under

Florida law to pay the amount of all such invoices in an amount of at least $18,736,318.01 (plus

interest).

        21.     The services provided by the Laboratories for which Defendants failed to make

payment are covered services under the applicable commercial, non-Medicare health plans insured

or administered by Defendants.




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       22.     Additionally, by their course of conduct, including their prior payments to the

Laboratories of at least $37,687,349.18 for identical services, Defendants admitted and confirmed

that the services provided by the Laboratories are covered services, that the Laboratories are

entitled to receive payment for such services, and that Defendants are obligated to make payment

for such services.

       23.     The Laboratories repeatedly demanded payment from Defendants on the open

invoices, but Defendants ignored and refused all such demands.

C.     Defendants are Obligated by Florida Statute to Make Payment to Plaintiffs

       24.     The Laboratories are incorporated in Florida, maintain their physical facilities in

Florida, and perform all testing services in Florida.

       25.     The Laboratories are providers within the meaning of Florida law.

       26.     Defendants issue, insure and administer commercial, non-Medicare health plans in

and to subscribers in Florida.

       27.     All such health plans issued by Defendants in and to subscribers in Florida are

governed by Florida law, including but not limited to Chapters 627 (Insurance Rates and Contracts)

and 641 (Health Care Service Programs) of Title XXXVII (Insurance) of the Florida Statutes.

       28.     The Laboratories are non-participating (out-of-network) providers, meaning that

they have no direct contract with Defendants governing the provision of their services or the billing

and payment thereof. As such, the Laboratories did not agree to accept discounted payments from

Defendants for their covered services.

       29.     The testing services provided to Defendants’ subscribers and beneficiaries for

which Defendants accepted responsibility and actually made payments of at least $37,687,349.18

were all performed in Florida.




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       30.     The testing services provided to Defendants’ subscribers and beneficiaries for

which Defendants failed to make payments of at least $32,074,089.37 were all performed in

Florida.

       31.     Defendants are obligated by Florida Statute, including Sections 627.6131, 627.638,

627.64194, 627.662, and, to the extent applicable, 641.3154 and 641.3155 thereof, to pay the

Laboratories for testing services provided to Defendants’ commercial, non-Medicare subscribers

and beneficiaries.

       32.     Pursuant to Florida Statutes, including Sections 627.6131 and 641.3155 thereof, an

uncontestable obligation was incurred to pay the amount of all invoices to which Defendants failed

to deliver a timely denial, and that uncontestable obligation is deemed admitted in an amount of at

least $18,736,318.01.

       33.     The Laboratories are entitled to bring this action under both the common law and

by Florida Statute, including Sections 627.6131, 627.638, 627.64194, 627.662, and, to the extent

applicable, 641.3154 and 641.3155 thereof, to collect payment from Defendants for testing

services provided to their subscribers and beneficiaries.

D.     Plaintiffs’ Claims are not Governed by, Subject to or Preempted by ERISA

       34.     This is not an action for benefits or relief under ERISA, nor do the Laboratories

seek any ERISA remedies herein.

       35.     The Laboratories assert only state-law statutory and common-law claims and

causes of action in this lawsuit.

       36.     The Laboratories seek only state-law statutory and common-law remedies in this

lawsuit.




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       37.     The Laboratories do not assert any assigned or derivative claims in this lawsuit,

either pursuant to a valid assignment of benefits or otherwise. Rather, the Laboratories solely assert

original claims in their own right, as to which the Laboratories have a direct right of payment and

as to which the Laboratories have a direct and independent right of action and remedy.

       38.     The Laboratories bring this lawsuit independently of any rights held by the

subscribers and beneficiaries to whom they provided services.

       39.     Plaintiffs solely seek payment for services as to which the Laboratories do not have

a valid assignment of benefits from the patient subscriber/beneficiary. These claims for which

Plaintiffs do not have a valid assignment of benefits consist of (i) claims for which Plaintiffs never

obtained any assignment of benefits from the patient whatsoever, and (ii) claims for which any

nominal “assignments of benefits” Plaintiffs ostensibly obtained are invalid because they are

prohibited by the applicable Cigna policy and consequently of no legal effect. As to all such claims

herein, therefore, the Laboratories have no standing to bring an action under ERISA.

       40.     Expressly excluded from this lawsuit are any claims for payment as to which the

Laboratories obtained a valid and permitted assignment of benefits from the patient

subscriber/beneficiary assignment where such assignments are permitted and authorized by the

applicable Cigna policy.

       41.     Defendants have an independent legal obligation under Florida law to pay the

Laboratories for their testing services, including Florida Statutes Sections 627.6131, 627.638,

627.64194, 627.662, and, to the extent applicable, 641.3154 and 641.3155.

       42.     Defendants also have an independent legal obligation to pay the Laboratories for

their testing services by virtue of their promise to pay and their history of actual payments.




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          43.    For these reasons, ERISA does not govern, apply to or preempt the claims asserted

herein.

E.        Plaintiffs’ Claims are Ripe for Adjudication by this Court

          44.    All conditions precedent to payment by Defendants to the Laboratories have been

met.

          45.    The sums claimed herein are past-due and immediately payable.

          46.    To the extent Defendants failed to deliver a timely denial of the claims asserted

herein, an uncontestable obligation was incurred to pay the amount of such invoices, and that

uncontestable obligation is deemed admitted. Plaintiffs will move for summary judgment on all

such uncontestable claims in an amount of at least $18,736,318.01.

          47.    The Laboratories repeatedly demanded payment from Defendants for the sums

owed herein.

          48.    The claims asserted herein do not require any further administrative review by or

between the parties.

          49.    All prerequisites to payment have been satisfied.

          50.    All prerequisites to suit have been satisfied, and the claims asserted herein are ripe

for adjudication by this Court.

                           Count I - Action for Payment Pursuant to
          Florida Statute §§ 627.6131, 627.638, 627.64194, 627.662, 641.3154, 641.3155

          51.    Plaintiffs incorporate the foregoing paragraphs as if fully set forth herein.

          52.    The Laboratories provided covered services to subscribers and beneficiaries of

commercial, non-Medicare contracts of insurance issued by Defendants, all within the meaning of

applicable Florida Statutes, including Sections 627.6131, 627.638, 627.64194, 627.662, and, to

the extent applicable, 641.3154 and 641.3155.



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       53.       It was Plaintiffs’ regular practice to confirm the existence of coverage before

providing the requested services.

       54.       Defendants are obligated by Florida Statute, including Sections 627.6131, 627.638,

627.64194, 627.662, and, to the extent applicable, 641.3154 and 641.3155, to pay the Laboratories

for testing services provided to Defendants’ subscribers and beneficiaries.

       55.       Defendants are further obligated to pay the uncontestable obligation imposed by

Florida Statute Sections 627.6131 and 641.3155, which obligation arose from the Defendants’

failure to respond timely to the Laboratories’ invoices.

       56.       The Laboratories are entitled to bring this action by Florida Statute Sections

627.6131, 627.638, 627.64194, 627.662, and, to the extent applicable, 641.3154 and 641.3155 to

collect payment from Defendants for testing services provided to their subscribers and

beneficiaries.

       57.       Defendants failed to make payments to the Laboratories of at least $32,074,089.37

for covered services.

       58.       The Laboratories are therefore entitled to receive payment from Defendants of not

less than $32,074,089.37 plus interest at the applicable statutory rate of 12%.

       WHEREFORE, Plaintiffs respectfully request this Honorable Court to enter judgment in

their favor and against Defendants and to award damages in an amount to be determined at trial

and in excess of $75,000 (exclusive of interest and costs), and more specifically not less than

$32,074,089.37, plus interest at 12% and costs.




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                  Count II - Breach of Implied Contract/Promissory Estoppel

        59.     Plaintiffs incorporate the foregoing paragraphs as if fully set forth herein.

        60.     Before providing services as described herein, the Laboratories had a regular

practice of contacting Defendants to confirm the existence of coverage before providing the

requested services.

        61.     In each such instance, the Laboratories expressly and detrimentally relied upon

Defendants’ express confirmation of coverage before providing the requested services.

        62.     Consistent with this protocol and course of dealing, Defendants actually paid to the

Laboratories at least $37,687,349.18 on account of their invoices for testing services identical to

those at issue herein.

        63.     The Laboratories relied on Defendants’ confirmation of coverage and the parties’

course of dealing in providing services for which they are entitled to payment in an amount of at

least $32,074,089.37.

        64.     By virtue of their express confirmation of coverage and the parties’ course of

dealing, Defendants are estopped from denying the Laboratories’ claims.

        65.     By virtue of their express confirmation of coverage and the parties’ course of

dealing, Defendants are estopped from denying their obligation to pay the Laboratories for their

services.

        66.     By virtue of their prior course of dealing and payment to the Laboratories at least

$37,687,349.18, Defendants are estopped from denying the Laboratories’ claims.

        67.     By virtue of their prior course of dealing and payment to the Laboratories at least

$37,687,349.18, Defendants are estopped from denying their obligation to pay the Laboratories

for their services.




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          68.    Defendants failed to make payment to the Laboratories on invoices in an amount

of at least $32,074,089.37, all of which remains due, owing and payable.

          69.    The Laboratories repeatedly demanded payment of their open invoices, but

Defendants ignored and refused all such demands.

          70.    Defendants are therefore obligated to make payment to the Laboratories in an

amount of at least $32,074,089.37, and the Laboratories are entitled to recover such payment

herein.

          WHEREFORE, Plaintiffs respectfully request this Honorable Court to enter judgment in

their favor and against Defendants and to award damages in an amount to be determined at trial

and in excess of $75,000 (exclusive of interest and costs), and more specifically not less than

$32,074,089.37, plus interest and costs.

                                    Count III - Quantum Meruit

          71.    Plaintiffs incorporate the foregoing paragraphs as if fully set forth herein.

          72.    The Laboratories rendered services to individual patients who are subscribers or

beneficiaries of commercial, non-Medicare health plans insured or administered by Defendants.

          73.    The services rendered by the Laboratories to Defendants’ subscribers/beneficiaries

are covered services under the health plans insured or administered by Defendants.

          74.    The services rendered by the Laboratories to Defendants’ subscribers/beneficiaries

have a reasonable value of at least $32,074,089.37, which amount remains unpaid.

          75.    Defendants, through a course of dealing and payment to the Laboratories at least

$37,687,349.18, are obligated to pay for the testing services that the Laboratories provided in

reliance on the Defendants’ prior conduct.




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       76.     Defendants are obligated on a quantum meruit basis to make payment to the

Laboratories in an amount of at least $32,074,089.37, and the Laboratories are entitled to recover

such payment herein.

       WHEREFORE, Plaintiffs respectfully request this Honorable Court to enter judgment in

their favor and against Defendants and to award damages in an amount to be determined at trial

and in excess of $75,000 (exclusive of interest and costs), and more specifically not less than

$32,074,089.37, plus interest and costs.

                          Count IV - Third Party Beneficiary Claims

       77.     Plaintiffs incorporate the foregoing paragraphs as if fully set forth herein.

       78.     Defendants are parties to contracts of health insurance with their subscribers by

which Defendants agreed to make payment to medical providers such as Plaintiffs for medical care

and services provided to the subscribers.

       79.     Defendants’ contracts of health insurance were issued under and in compliance with

Florida law.

       80.     It was the clear and manifest intent of Defendants and their subscribers, and it was

required by Florida statute, that medical providers such as Plaintiffs have the benefit of such

payment for medical care and services provided to the subscribers.

       81.     Plaintiffs provided proper written proof of the medical care and services they

provided to Defendants’ subscribers.

       82.     Defendants failed to make payment to Plaintiffs for medical care and services

provided to the subscribers as described herein.

       83.     Plaintiffs have been damaged as a direct result of Defendants’ failure to make

payment for medical care and services provided to Defendants’ subscribers.




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       84.     Plaintiffs are therefore entitled to bring this action for payment as third-party

beneficiaries have been damaged as a direct result of Defendants’ failure to make payment for

medical care and services provided to Defendants’ subscribers.

       WHEREFORE, Plaintiffs respectfully request this Honorable Court to enter judgment in

their favor and against Defendants and to award damages in an amount to be determined at trial

and in excess of $75,000 (exclusive of interest and costs), and more specifically not less than

$32,074,089.37, plus interest and costs.

       Plaintiffs demand trial by jury.

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Date: January 11, 2021




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